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                                                           July 2, 2021

BY ECF

The Honorable Alison J. Nathan
United States District Court
Southern District of New York
United States Courthouse
40 Foley Square
New York, NY 10007

         Re: United States v. Ghislaine Maxwell, S2 20 Cr. 330 (AJN)

Dear Judge Nathan:

        Pursuant to the Court’s order dated July 1, 2021 (Dkt. 308), we have attached to this letter
the unsealed copies of Exhibits D, E, F, and G of Ms. Maxwell’s memorandum of law in support
of her first motion to suppress (Dkt. 134) to be filed on the public docket.

                                                           Respectfully submitted,


                                                             /s/ Christian Everdell     .
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cc:      All Counsel of Record (By ECF)
